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                                              Exhibit C

                                             Authorities


        TAXING AUTHORITY TYPE                     TYPE                           ADDRESS
                                                                   200 W FRONT ST
ADA COUNTY TREASURER                     PROPERTY TAX
                                                                   BOISE, ID 83702
                                                                   507 VERMONT ST
ADAMS COUNTY TAX COLLECTOR               PROPERTY TAX              SUITE G12
                                                                   QUINCY, IL 62301
                                                                   PO BOX 869
ADAMS COUNTY TREASURER                   PROPERTY TAX
                                                                   BRIGHTON, CO 80601
                                                                   50 N RIPLEY ST
ALABAMA DEPARTMENT OF REVENUE            SALES & USE TAX
                                                                   MONTGOMERY, AL 36130
                                                                   TREASURER AND TAX COLLECTOR
ALAMEDA COUNTY TREASURER                 PROPERTY TAX              1221 OAK ST STE 131
                                                                   OAKLAND, CA 94612
                                                                   PO BOX 643385
ALLEGHENY COUNTY TREASURER               PROPERTY TAX
                                                                   PITTSBURGH, PA 15264
                                                                   P.O. BOX 2540
ALLEN COUNTY TREASURER                   PROPERTY TAX
                                                                   FORT WAYNE, IN 46801-2540
                                                                   PO BOX 123
ALLEN COUNTY TREASURER'S OFFICE          PROPERTY TAX
                                                                   LIMA, OH 45802
                                                                   5400 BUTTERNUT DR
ANGELA EPOLITO TAX RECEIVER              PROPERTY TAX
                                                                   EAST SYRACUSE, NY 13057
ARIZONA DEPARTMENT OF REVENUE - INCOME                             PO BOX 29079
                                         INCOME TAX
TAX DEPT                                                           PHOENIX, AZ 85038
ARIZONA DEPARTMENT OF REVENUE - SALES                              PO BOX 29010
                                         SALES & USE TAX
AND USE TAX                                                        PHOENIX, AZ 85038
ARKANSAS DEPARTMENT OF FINANCE AND                                 P.O. BOX 1272 – ROOM 2380
                                         PROPERTY TAX
ADMINISTRATION                                                     LITTLE ROCK, AR 72203-0896
                                                                   18 GOVERNMENT CENTER LANE
AUGUSTA COUNTY TREASURER'S OFFICE        PROPERTY TAX              PO BOX 590
                                                                   VERONA, VA 24482
                                                                   102 NORTH SIDE SQUARE
BEDFORD COUNTY TRUSTEE (TN)              PROPERTY TAX
                                                                   SHELBYVILLE, TN 37160
                                                                   2400 BYBERRY RD
BENSALEM TOWNSHIP AUTHORITY              PROPERTY TAX
                                                                   BENSALEM, PA 19020
BENSALEM TOWNSHIP COLLECTOR (BUCKS                                 3750 HULMEVILLE ROAD
                                         PROPERTY TAX
COUNTY)                                                            BENSALEM, PA 19020
                                                                   PO BOX 269
BERNALILLO COUNTY TREASURER              PROPERTY TAX
                                                                   ALBUQUERQUE, NM 87103
                                                                   TAX PROCESSING UNIT
BETHLEHEM CSD                            PROPERTY TAX              PO BOX 12905
                                                                   ALBANY, NY 12212
                                                                   PO BOX 839950
BEXAR COUNTY TAX ASSESSOR COLLECTOR      PROPERTY TAX
                                                                   SAN ANTONIO, TX 78283
                                                                   8425 MAIN ST.
BIRCH RUN TOWNSHIP TREASURER             PROPERTY TAX              P.O. BOX 152
                                                                   BIRCH RUN, MI 48415
                                                                   1990 WEST PARNALL ROAD
BLACKMAN CHARTER TOWNSHIP                PROPERTY TAX
                                                                   JACKSON, MI 49201-8612
                                                                   801 E WALNUT RM 118
BOONE COUNTY COLLECTOR                   PROPERTY TAX
                                                                   COLUMBIA, MO 65201
                                                                   NORTHUMBERLAND COUNTY, PA
BOROUGH OF MILTON                        PROPERTY TAX              2 FILBERT ST
                                                                   MILTON, PA 17847
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        TAXING AUTHORITY TYPE                    TYPE                             ADDRESS
                                                                   PO BOX 967
BOWIE COUNTY                             PROPERTY TAX
                                                                   NEW BOSTON, TX 75570
                                                                   1160 S OUTER DR
BUENA VISTA CHARTER TOWNSHIP             PROPERTY TAX
                                                                   SAGINAW, MI 48601
                                                                   1512 CENTRAL AVE
BUFFALO COUNTY TREASURER                 PROPERTY TAX
                                                                   KEARNEY, NE 68847
                                                                   315 HIGH ST
BUTLER COUNTY OF OHIO                    PROPERTY TAX              10TH FL
                                                                   HAMILTON, OH 45011
                                                                   8085 BYRON CENTER AVENUE SW
BYRON TOWNSHIP TREASURER                 PROPERTY TAX
                                                                   BYRON CENTER, MI 49315
                                                                   8085 BYRON CENTER AVE SW
BYRON TOWNSHIP WATER & SEWER             PROPERTY TAX              PO BOX 264
                                                                   BYRON CENTER, MI 49315
                                                                   PO BOX 20905
CADDO PARISH TAX COLLECTOR               PROPERTY TAX
                                                                   SHREVEPORT, LA 71120
CALIFORNIA DEPARTMENT OF TAX AND FEE                               3321 POWER INN ROAD, SUITE 210
                                         SALES & USE TAX
ADMINISTRATION                                                     SACRAMENTO, CA 95826
CALIFORNIA DEPARTMENT OF TAX AND FEE     ENVIRONMENTAL LICENSE     3321 POWER INN ROAD, SUITE 130
ADMINISTRATION - ENVIRONMENTAL           & PERMITS                 SACRAMENTO, CA 95826
                                         BUSINESS LICENSE &
CALIFORNIA DEPARTMENT OF TAX AND FEE     PERMITS;
                                                                   PO BOX 942879
ADMINISTRATION, STATE BOARD OF           ENVIRONMENTAL LICENSE
                                                                   SACRAMENTO, CA 94279
EQUALIZATION                             & PERMITS;
                                         SALES & USE TAX
                                                                   555 MACKENZIE AVENUE
CANADA REVENUE AGENCY                    INCOME TAX
                                                                   OTTAWA, ON K1A 0L5 CANADA
                                                                   TAX ASSESSOR COLLECTOR
CARROLLTON-FARMERS BRANCH INDEPENDENT
                                         PROPERTY TAX              1445 NORTH PERRY RD
SCHOOL DISTRICT
                                                                   CARROLLTON, TX 75011
                                                                   211 9TH ST S
CASS COUNTY GOVERNMENT                   PROPERTY TAX
                                                                   FARGO, ND 58103
                                                                   93 ROBIN RD
CATOOSA COUNTY TAX COMMISSIONER          PROPERTY TAX
                                                                   RINGGOLD, GA 30736
                                                                   1534 S TREADAWAY
CENTRAL APPRAISAL DISTRICT OF TAYLOR
                                         PROPERTY TAX              P O BOX 1800
COUNTY
                                                                   ABILENE, TX 79604
CENTRO DE RECAUDACION DE INGRESOS        PROPERTY TAX;             PO BOX 195387
MUNICIPALES (CRIM)                       SALES & USE TAX           SAN JUAN, PR 00919
                                                                   220 N WASHINGTON
CERRO GORDO RECORDER OF DEEDS            PROPERTY TAX
                                                                   MASON CITY, IA 50401
                                                                   PO BOX 26585
CHESTERFIELD COUNTY TREASURER DEPT       PROPERTY TAX
                                                                   RICHMOND, VA 23285
                                                                   711 N BRIDGE ST
CHIPPEWA COUNTY TREASURER                PROPERTY TAX
                                                                   CHIPPEWA FALLS, WI 54729
                                                                   1621 RIVERTON RD
CINNAMINSON TOWNSHIP TAX COLLECTOR       PROPERTY TAX
                                                                   CINNAMINSON, NJ 08077
                                                                   TREASURER TAX COLLECTOR
CITY AND COUNTY OF SAN FRANCISCO         PROPERTY TAX              PO BOX 7426
                                                                   SAN FRANCISCO, CA 94120
                                                                   PO BOX 71
CITY OF ALEXANDRIA                       PROPERTY TAX
                                                                   ALEXANDRIA, LA 71309
                                                                   1301 TWELFTH ST
CITY OF ALTOONA                          PROPERTY TAX
                                                                   ALTOONA, PA 16601
                                                                   15151 E ALAMEDA PARKWAY
CITY OF AURORA                           SALES & USE TAX           LICENSING SECTION, STE 1100
                                                                   AURORA, CO 80012
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         TAXING AUTHORITY TYPE                       TYPE                         ADDRESS
                                                                    DIRECTOR OF FINANCE BALTIMORE
CITY OF BALTIMORE                         PROPERTY TAX              PO BOX 17535
                                                                    BALTIMORE, MD 21297
                                                                    FINANCE DIRECTOR
                                          BUSINESS & OCCUPATION
CITY OF BELLINGHAM                                                  PO BOX V
                                          TAX
                                                                    BELLINGHAM, WA 98227
                                                                    PO BOX 10566
CITY OF BIRMINGHAM                        SALES & USE TAX
                                                                    BIRMINGHAM, AL 35296
                                                                    PO BOX 1410
CITY OF BOWLING GREEN                     PROPERTY TAX
                                                                    BOWLING GREEN, KY 42102
                                          BUSINESS LICENSE &        310 E MAIN ST
CITY OF BROUSSARD
                                          PERMITS                   BROUSSARD, LA 70518
                                                                    65 NIAGARA SQ
CITY OF BUFFALO, NY                       PROPERTY TAX              ROOM 121
                                                                    BUFFALO, NY 14202
                                                                    BURNABY CITY HALL
CITY OF BURNABY                           PROPERTY TAX              4949 CANADA WAY
                                                                    BURNABY, BC V5G 1M2 CANADA
                                          INCOME TAX;               PO BOX 2900 STN M
CITY OF CALGARY
                                          PROPERTY TAX              CALGARY, AB T2P 3A7 CANADA
                                                                    PO BOX 31032
CITY OF CHARLOTTE                         VEHICLE USE TAX
                                                                    CHARLOTTE, NC 28231
                                                                    PO BOX 1606
CITY OF CHESAPEAKE                        PROPERTY TAX
                                                                    CHESAPEAKE, VA 23327
                                                                    8602 ROSEMARY ST
CITY OF COMMERCE CITY                     SALES & USE TAX
                                                                    COMMERCE CITY, CO 80022
                                                                    PO BOX 1177
CITY OF CRANSTON TAX COLLECTOR            PROPERTY TAX
                                                                    CRANSTON, RI 02901
                                          FUEL TAX;                 17 W MAIN ST
CITY OF DANVILLE
                                          PROPERTY TAX              DANVILLE, IL 61832
                                                                    #1 GARY K ANDERSON PLAZA
CITY OF DECATUR                           FUEL TAX
                                                                    DECATUR, IL 62523
                                                                    60 AVENUE MARTIN
CITY OF DORVAL                            PROPERTY TAX
                                                                    DORVAL, QC H9S-3R4 CANADA
                                                                    100 S MONROE ST
CITY OF EAGLE PASS                        PROPERTY TAX
                                                                    EAGLE PASS, TX 78852
                                                                    PO BOX 1982
CITY OF EDMONTON                          PROPERTY TAX
                                                                    EDMONTON, AB T5J 3X5 CANADA
                                          BUSINESS & OCCUPATION     3028 WETMORE AVENUE
CITY OF EVERETT
                                          TAX                       EVERETT, WA 98201
                                                                    105 SOUTH MAIN STREET
CITY OF GOODLETTSVILLE                    PROPERTY TAX
                                                                    GOODLETTSVILLE, TN 37072
                                                                    CITY TREASURER'S OFFICE
CITY OF HOLLAND CITY TREASURERS OFFICE    PROPERTY TAX              270 S. RIVER AVENUE
                                                                    HOLLAND, MI 49423-3299
                                                                    150 W JEFFERSON
CITY OF JOLIET, IL                        FUEL TAX
                                                                    JOLIET, IL 60432
                                          BUSINESS & OCCUPATION     PO BOX 84665
CITY OF KENT
                                          TAX                       SEATTLE, WA 98124
                                                                    225 WEST CENTER ST
CITY OF KINGSPORT                         PROPERTY TAX
                                                                    KINGSPORT, TN 37660
                                                                    PO BOX 15001
CITY OF KNOXVILLE                         PROPERTY TAX
                                                                    KNOXVILLE, TN 37901
                                                                    PO BOX 6548
CITY OF LAREDO TAX OFFICE                 PROPERTY TAX
                                                                    LAREDO, TX 78042
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         TAXING AUTHORITY TYPE                    TYPE                           ADDRESS
                                                                  325 N WASHINGTON AVE
CITY OF LIBERAL                           PROPERTY TAX            PO BOX 2199
                                                                  LIBERAL, KS 67901
                                          BUSINESS & OCCUPATION   PO BOX 128
CITY OF LONGVIEW
                                          TAX                     LONGVIEW, WA 98632
                                                                  PO BOX 2999
CITY OF MADISON TREASURER                 PROPERTY TAX
                                                                  MADISON, WI 53701
                                                                  PO BOX 512
CITY OF MANASSAS                          PROPERTY TAX
                                                                  MANASSAS, VA 20108
                                                                  PO BOX 609
CITY OF MARIETTA                          PROPERTY TAX
                                                                  MARIETTA, GA 30061
                                                                  PO BOX 220
CITY OF MCALLEN                           PROPERTY TAX
                                                                  MCALLEN, TX 78505
                                                                  PO BOX 185
CITY OF MEMPHIS TREASURER                 PROPERTY TAX
                                                                  MEMPHIS, TN 38101
                                                                  COLLECTOR OF TAXES
CITY OF MILLVILLE                         PROPERTY TAX            PO BOX 609
                                                                  MILLVILLE, NJ 08332
CITY OF MILWAUKEE - OFFICE OF THE CITY                            PO BOX 78776
                                          PROPERTY TAX
TREASURER                                                         MILWAUKEE, WI 53278-0776
                                                                  PO BOX 2745
CITY OF MOBILE                            SALES & USE TAX
                                                                  MOBILE, AL 36652
                                                                  PO BOX 830469
CITY OF MONTGOMERY                        SALES & USE TAX
                                                                  BIRMINGHAM, AL 35283
                                          PROPERTY TAX;           1300 PERDIDO ST
CITY OF NEW ORLEANS
                                          SALES & USE TAX         NEW ORLEANS, LA 70112
                                                                  8640 S HOWELL AVE
CITY OF OAK CREEK                         PROPERTY TAX
                                                                  OAK CREEK, WI 53154
                                          BUSINESS LICENSE &      PO BOX 1967
CITY OF OLYMPIA
                                          PERMITS                 OLYMPIA, WA 98507
                                                                  FINANCE OFFICE
CITY OF PADUCAH                           PROPERTY TAX            PO BOX 2697
                                                                  PADUCAH, KY 42002
                                                                  PO BOX 77000
CITY OF PONTIAC                           PROPERTY TAX
                                                                  DETROIT, MI 48277
                                                                  PO BOX 5022
CITY OF REGINA                            PROPERTY TAX
                                                                  REGINA, SK S4P 4J3 CANADA
                                                                  PO BOX 1180
CITY OF ROCKY MOUNT                       PROPERTY TAX
                                                                  ROCKY MOUNT, NC 27802
                                                                  11111 WAYNE ROAD
CITY OF ROMULUS TREASURER                 PROPERTY TAX
                                                                  ROMULUS, MI 48174-1485
                                                                  BOX 7030
CITY OF SASKATOON                         PROPERTY TAX
                                                                  SASKATOON, SK S7K-8E3 CANADA
                                                                  PO BOX 1228
CITY OF SAVANNAH TREASURER                PROPERTY TAX
                                                                  SAVANNAH, GA 31402
                                                                  PO BOX 20111
CITY OF SCRANTON                          PROPERTY TAX
                                                                  SCRANTON, PA 18502
                                          BUSINESS & OCCUPATION
                                          TAX;                    PO BOX 34904
CITY OF SEATTLE
                                          BUSINESS LICENSE &      SEATTLE, WA 98124
                                          PERMITS
                                                                  PO BOX 30168
CITY OF SHREVEPORT                        PROPERTY TAX
                                                                  SHREVEPORT, LA 71130
                                                                  PO BOX 66787
CITY OF ST LOUIS                          PROPERTY TAX
                                                                  SAINT LOUIS, MO 63166
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        TAXING AUTHORITY TYPE                      TYPE                          ADDRESS
                                                                   TAX & LICENSE DIVISION
                                           BUSINESS & OCCUPATION
CITY OF TACOMA                                                     747 MARKET ST, RM 248
                                           TAX
                                                                   TACOMA, WA 98402
                                                                   PO BOX 335
CITY OF TAYLOR                             PROPERTY TAX
                                                                   TAYLOR, MI 48180
                                                                   REVENUE SERVICES
CITY OF TORONTO                            PROPERTY TAX            5100 YONGE ST
                                                                   TORONTO, ON M2N 5V7 CANADA
                                                                   FINANCE DEPT REVENUE DIV
CITY OF TUCSON                             SALES & USE TAX         255 W ALAMEDA
                                                                   TUCSON, AZ 85701
                                                                   2 YORK ST
CITY OF WESTBROOK                          PROPERTY TAX
                                                                   WESTBROOK, ME 04092
                                                                   PO BOX 40
CITY OF WOODSTOCK                          PROPERTY TAX
                                                                   WOODSTOCK, ON N4S-7W5 CANADA
                                                                   1155 28TH ST SW
CITY OF WYOMING                            PROPERTY TAX            P O BOX 905
                                                                   WYOMING, MI 49509
                                                                   819 SUPERIOR AVENUE
CITY TREASURER - TOMAH                     PROPERTY TAX
                                                                   TOMAH, WI 54660
                                                                   626 STATE ST RM 104
CITY TREASURER OF ERIE                     PROPERTY TAX
                                                                   ERIE, PA 16501
                                                                   500 S GRAND CENTRAL PARKWAY, 1ST
                                                                   FLOOR
CLARK COUNTY TREASURER & TAX               PROPERTY TAX
                                                                   PO BOX 551401
                                                                   LAS VEGAS, NV 89155
                                                                   ADMIN ANNEX 3 2ND FLOOR
CLAYTON COUNTY TAX COMMISSIONER            PROPERTY TAX            121 S.MCDONOUGH ST.
                                                                   JONESBORO, GA 30236
                                                                   PO BOX 100127
COBB COUNTY TAX COMMISSIONER               PROPERTY TAX
                                                                   MARIETTA, GA 30061
                                                                   110 E CHERRY
COCONINO COUNTY TREASURER                  PROPERTY TAX
                                                                   FLAGSTAFF, AZ 86001
                                                                   STATE CAPITOL ANNEX
COLORADO DEPARTMENT OF REVENUE             SALES & USE TAX         1375 SHERMAN ST
                                                                   DENVER, CO 80261
                                                                   PO BOX 56
COLUMBIA COUNTY GEORGIA                    PROPERTY TAX
                                                                   APPLING, GA 30802
                                                                   DE LA TAXE SCOLAIRE
COMITE DE GESTION DE LA TAXE SCOLAIRE DE
                                           PROPERTY TAX            CP 11071, SUCC CENTRE-VILLE
L'ILE DE MONTREAL
                                                                   MONTREAL, QC H3C-5A9 CANADA
                                                                   308 RUE PALMER
COMMISSION SCOLAIRE DES HAUTS-CANTONS      PROPERTY TAX
                                                                   EAST ANGUS, QC J0B 1R0 CANADA
                                                                   NYS TAX DEPT RPC-HUT
                                           STATE MILEAGE TAX;
COMMISSIONER OF TAXATION & FINANCE                                 PO BOX 15166
                                           WEIGHT / DISTANCE TAX
                                                                   ALBANY, NY 12212
                                                                   1171 S CAMERON ST, SUITE 103
COMMONWEALTH OF PENNSYLVANIA               IFTA FUEL TAX
                                                                   HARRISBURG, PA 17104
                                                                   118 NORTH CLARK STATE
COOK COUNTY ASSESSOR'S OFFICE              PROPERTY TAX            THIRD FLOOR, ROOM #320
                                                                   CHICAGO, IL 60602
                                                                   940 WEST MAIN ST 106
COUNTY OF IMPERIAL TAX COLLECTOR           PROPERTY TAX
                                                                   EL CENTRO, CA 92243
                                                                   OFFICE OF TREASURER
COUNTY OF LEXINGTON                        PROPERTY TAX            PO BOX 3000
                                                                   LEXINGTON, SC 29071-3000
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        TAXING AUTHORITY TYPE                    TYPE                          ADDRESS
                                                                 PO BOX 2207
COUNTY OF MOBILE                         SALES & USE TAX
                                                                 MOBILE, AL 36652
                                                                 TREASURER TAX COLLECTOR
COUNTY OF SANTA BARBARA                  PROPERTY TAX            PO BOX 579
                                                                 SANTA BARBARA, CA 93102
                                                                 70 W HEDDING STREET
COUNTY OF SANTA CLARA                    PROPERTY TAX            EAST WING, 6TH FLOOR
                                                                 SAN JOSE, CA 95110
                                                                 2150 N CONGRESS DR
COUNTY OF SANTA CRUZ                     PROPERTY TAX
                                                                 NOGALES, AZ 85621
                                                                 100 NORTH 5TH AVENUE W
COUNTY OF ST LOUIS                       PROPERTY TAX
                                                                 DULUTH, MN 55802
                                                                 PROPERTY TAX PAYMENT CENTER
COUNTY OF WASHINGTON                     PROPERTY TAX            PO BOX 3587
                                                                 PORTLAND, OR 97208
                                                                 BOX 878
COUNTY TREASURERS' OFFICE                PROPERTY TAX
                                                                 CHARLESTON, SC 29402
                                                                 PO BOX 1070
CUMBERLAND COUNTY TAX                    PROPERTY TAX
                                                                 CHARLOTTE, NC 28201
                                                                 3502 MENDON ROAD
CUMBERLAND FIRE DISTRICT                 PROPERTY TAX
                                                                 CUMBERLAND, RI 02864
                                                                 PO BOX 1595
CUMBERLAND TOWN TAX COLLECTOR            PROPERTY TAX
                                                                 PROVIDENCE, RI 02901
                                                                 21 WATERFORD DRIVE
CUMBERLAND VALLEY SCHOOL DISTRICT -
                                         PROPERTY TAX            SUITE 201
HAMPDEN
                                                                 MECHANICSBURG, PA 17050
                                                                 CUYAHOGA COUNTY TREASURER
CUYAHOGA COUNTY TREASURER                PROPERTY TAX            P.O. BOX 94547
                                                                 CLEVELAND, OH 44101-4547
                                                                 PO BOX 025218
DADE COUNTY TAX COLLECTOR                PROPERTY TAX
                                                                 MIAMI, FL 33102
DAKOTA COUNTY PROPERTY TAXATION &                                1590 HIGHWAY 55
                                         PROPERTY TAX
RECORDS                                                          HASTINGS, MN 55033
                                                                 TAX ASSESSOR COLLECTOR
DALLAS COUNTY                            PROPERTY TAX            PO BOX 139066
                                                                 DALLAS, TX 75313
                                                                 1 PUBLIC SQ RM 210
DARLINGTON COUNTY                        PROPERTY TAX
                                                                 DARLINGTON, SC 29532
                                                                 1300 NW WALL STREET, 2ND FLOOR
DESCHUTES COUNTY ASSESSOR'S OFFICE       PROPERTY TAX
                                                                 BEND, OR 97703
                                                                 365 LOSHER STREET
DESOTO COUNTY TAX COLLECTOR              PROPERTY TAX
                                                                 HERNANDO, MS 38632
                                                                 548 DEERE RUN LANE
DORRANCE TOWNSHIP TAX COLLECTOR          PROPERTY TAX
                                                                 WAPWALLOPEN, PA 18660
                                                                 PO BOX 1827
DOUGHERTY COUNTY TAX COMMISSIONER        PROPERTY TAX
                                                                 ALBANY, GA 31702
                                                                 1819 FARNAM ST RM H-03
DOUGLAS COUNTY NEBRASKA                  PROPERTY TAX
                                                                 OMAHA, NE 68183
                                                                 P. O. BOX 8403
DOUGLAS COUNTY TAX COLLECTOR             PROPERTY TAX
                                                                 MEDFORD, OR 97501
                                                                 PO BOX 609
DOUGLAS COUNTY TREASURER                 PROPERTY TAX
                                                                 WATERVILLE, WA 98858
                                                                 PO BOX 1530
EAGLE PASS INDEPENDENT SCHOOL DISTRICT   PROPERTY TAX
                                                                 EAGLE PASS, TX 78853
                                                                 PO BOX 2018
EL PASO COUNTY TREASURER                 PROPERTY TAX
                                                                 COLORADO SPRINGS, CO 80901
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        TAXING AUTHORITY TYPE                    TYPE                          ADDRESS
                                                                 PO BOX 660271
EL PASO TAX ASSESSOR COLLECTOR           PROPERTY TAX
                                                                 DALLAS, TX 75266
                                                                 571 IDAHO ST, STE 101
ELKO COUNTY TREASURER                    PROPERTY TAX
                                                                 ELKO, NV 89801
                                                                 175 S MAIN ST, RM 310
FISCAL OFFICER COUNTY OF SUMMIT          PROPERTY TAX
                                                                 AKRON, OH 44308
                                                                 5050 W TENNESSEE ST
FLORIDA DEPARTMENT OF REVENUE            SALES & USE TAX
                                                                 TALLAHASSEE, FL 32399
                                                                 PO BOX 70844
FORSYTH COUNTY TAX COLLECTOR             PROPERTY TAX
                                                                 CHARLOTTE, NC 28272
                                                                 ATTN: RICHARD CORDRAY
FRANKLIN COUNTY BOARD OF COMMISSIONERS   PROPERTY TAX            373 S. HIGH STREET, 17TH FL
                                                                 COLUMBUS, OH 43215-6306
                                                                 1016 N 4TH AVE
FRANKLIN COUNTY TREASURER                PROPERTY TAX
                                                                 PASCO, WA 99301
                                                                 373 S HIGH ST 17TH FL
FRANKLIN COUNTY TREASURER (OH)           PROPERTY TAX
                                                                 COLUMBUS, OH 43215
                                                                 PO BOX 1192
FRESNO COUNTY TAX COLLECTOR              PROPERTY TAX
                                                                 FRESNO, CA 93715
                                                                 141 PRYOR STREET, SW
FULTON COUNTY, GA                        PROPERTY TAX
                                                                 ATLANTA, GA 30303
                                                                 311 WEST MAIN ST
GALLATIN COUNTY TREASURER                PROPERTY TAX
                                                                 BOZEMAN, MT 59715
                                                                 STEVE MCGHEE - TREASURER
GALLIA COUNTY TREASURER                  PROPERTY TAX            18 LOCUST ST, ROOM 1291
                                                                 GALLIPOLIS, OH 45631-1291
                                                                 305 EAST MAIN STREET
GAYLORD CITY TREASURER                   PROPERTY TAX
                                                                 GAYLORD, MI 49735
                                                                 PROCESSING CENTER
GEORGIA DEPARTMENT OF REVENUE            SALES & USE TAX         PO BOX 740317
                                                                 ATLANTA, GA 30374
                                                                 AND COLLECTOR OF TAXES
GRAYSON COUNTY ASSESSOR                  PROPERTY TAX            PO BOX 2107
                                                                 SHERMAN, TX 75091
                                                                 940 BOONVILLE
GREENE COUNTY TAX COLLECTOR              PROPERTY TAX
                                                                 SPRINGFIELD, MO 65802
                                                                 DEPARTMENT 390
GREENVILLE COUNTY TAX COLLECTOR          PROPERTY TAX            PO BOX 100221
                                                                 COLUMBIA, SC 29202-3221
                                                                 PO BOX 71072
GUILFORD COUNTY TAX DEPT                 PROPERTY TAX
                                                                 CHARLOTTE, NC 28272-1072
                                                                 DIV OF REV COLLECTION 2090 GREENWOOD
HAMILTON TOWNSHIP TAX COLLECTOR                                  AVE
                                         PROPERTY TAX
(ATLANTIC)                                                       PO BOX 00150
                                                                 HAMILTON TOWNSHIP, NJ 08609
                                                                 230 S SPORTING HILL RD
HAMPDEN TOWNSHIP                         PROPERTY TAX
                                                                 MECHANICSBURG, PA 17050
                                                                 PO BOX 4622
HARRIS COUNTY TAX ASSESSOR               PROPERTY TAX
                                                                 HOUSTON, TX 77210
                                                                 301 W MAIN ST
HARRISON COUNTY TAX COLLECTOR            PROPERTY TAX
                                                                 CLARKSBURG, WV 26301
                                                                 2000 SCHOOL RD
HATFIELD TOWNSHIP TAX COLLECTOR          PROPERTY TAX
                                                                 HATFIELD, PA 19440
                                                                 OAHU DISTRICT OFFICE
                                         EXCISE TAX;
HAWAII STATE TAX COLLECTOR                                       PO BOX 1425
                                         SALES & USE TAX
                                                                 HONOLULU, HI 96806
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         TAXING AUTHORITY TYPE                      TYPE                            ADDRESS
                                                                      A-600 GOVERNMENT CENTER
HENNEPIN COUNTY                             PROPERTY TAX              300 SOUTH 6TH STREET
                                                                      MINNEAPOLIS, MN 55487
                                                                      PO BOX 178
HIDALGO COUNTY TAX ASSESSOR / COLLECTOR     PROPERTY TAX
                                                                      EDINBURG, TX 78540
                                                                      PO BOX 172920
HILLSBOROUGH COUNTY TAX                     PROPERTY TAX
                                                                      TAMPA, FL 33672
                                                                      PO BOX 4200
HONOLULU CITY AND COUNTY TAX COLLECTOR      PROPERTY TAX
                                                                      HONOLULU, HI 96812
                                                                      3430 COURTHOUSE DRIVE
HOWARD COUNTY DIRECTOR FINANCE              PROPERTY TAX
                                                                      ELLICOTT CITY, MD 21043
                                                                      825 FIFTH ST
HUMBOLDT COUNTY TAX COLLECTOR               PROPERTY TAX
                                                                      EUREKA, CA 95501
                                                                      P O BOX 70012
IDAHO STATE TAX COMMISSION                  SALES & USE TAX
                                                                      BOISE, ID 83707
                                                                      PO BOX 19034
ILLINOIS DEPARTMENT OF REVENUE              SALES & USE TAX
                                                                      SPRINGFIELD, IL 62794
                                                                      PO BOX 7218
INDIANA DEPARTMENT OF REVENUE               SALES & USE TAX
                                                                      INDIANAPOLIS, IN 46207
INDIANA DEPARTMENT OF REVENUE - MOTOR                                 7811 MILLHOUSE RD
                                            IFTA FUEL TAX
VEHICLES SERVICES                                                     INDIANAPOLIS, IN 46241-9612
                                                                      ATTN: EIN OPERATION
INTERNAL REVENUE SERVICE                    INCOME TAX
                                                                      CINCINNATI, OH 45999
INTERNAL REVENUE SERVICE - EXCISE TAX                                 PO BOX 93500
                                            EXCISE TAX
DIVISION                                                              LOUISVILLE, KY 40293-2500
                                                                      2621 W AIRPORT FWY
IRVING ISD TAX OFFICE                       PROPERTY TAX              PO BOX 152021
                                                                      IRVING, TX 75015
                                                                      P.O. BOX 226
JACKSON COUNTY AUD./TREAS.                  PROPERTY TAX
                                                                      JACKSON, MN 56143-0226
                                                                      PO BOX 5020
JACKSON COUNTY PAYMENT CTR                  PROPERTY TAX
                                                                      PORTLAND, OR 97208
                                                                      PO BOX 219747
JACKSON COUNTY TAX COLLECTOR                PROPERTY TAX
                                                                      KANSAS CITY, MO 64121
                                                                      PO BOX 421
JASPER COUNTY COLLECTOR                     PROPERTY TAX
                                                                      CARTHAGE, MO 64836-0421
                                                                      PO BOX 2112
JEFFERSON COUNTY TAX COLLECTOR              PROPERTY TAX
                                                                      BEAUMONT, TX 77704
                                                                      ROOM 160 COURTHOUSE
                                            PROPERTY TAX;
JEFFERSON COUNTY, ALABAMA                                             716 RICHARD ARRINGTON JR BLVD N
                                            SALES & USE TAX
                                                                      BIRMINGHAM, AL 35203
                                                                      111 SOUTH CHERRY ST, SUITE 1200
JOHNSON COUNTY TREASURER, KANSAS            PROPERTY TAX
                                                                      OLATHE, KS 66061
                                                                      76 NORTH MAIN ST RM 102
JOHNSON COUNTY TREASURER, WYOMING           PROPERTY TAX
                                                                      BUFFALO, WY 82834
                                                                      STATE OFFICE BLDG
                                            EXCISE TAX;
KANSAS DEPT OF REVENUE                                                PO BOX 750680
                                            IFTA FUEL TAX
                                                                      TOPEKA, KS 66625
KANSAS DEPT OF REVENUE - SALES AND USE                                915 SW HARRISON ST
                                            SALES & USE TAX
TAX                                                                   TOPEKA, KS 66625
                                                                      TAX STATE OFFICE BLDG, RECORDS
                                                                      PROCESSING WITHHOLDING
KANSAS DEPT OF REVENUE - WITHHOLDING TAX    WITHHOLDING TAX
                                                                      PO BOX 3506
                                                                      TOPEKA, KS 66625
                                                                      COUNTY ADMIN BLDG
KENT COUNTY TREASURERS OFFICE               PROPERTY TAX              300 MONROE AVE NW
                                                                      GRAND RAPIDS, MI 49503
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        TAXING AUTHORITY TYPE                      TYPE                           ADDRESS
                                                                   DIVISION OF SALES AND USE TAX
KENTUCKY DEPARTMENT OF REVENUE             SALES & USE TAX         STATION 67, PO BOX 181
                                                                   FRANKFORT, KY 40602
                                                                   DEPT OF VEHICLE REGULATION
                                           STATE MILEAGE TAX;
KENTUCKY STATE TREASURER                                           PO BOX 2004
                                           WEIGHT / DISTANCE TAX
                                                                   FRANKFORT, KY 40602
                                                                   PAYMENT CENTER
KERN COUNTY TREASURER AND TAX
                                           PROPERTY TAX            PO BOX 541004
COLLECTOR
                                                                   LOS ANGELES, CA 90054
                                                                   501 TAFT HIGHWAY
KERN DELTA WATER DISTRICT                  PROPERTY TAX
                                                                   BAKERSFIELD, CA 93307
                                                                   KING COUNTY TREASURY DIVISION
KING COUNTY FINANCE                        PROPERTY TAX            500 FOURTH AVE #600
                                                                   SEATTLE, WA 98104
                                                                   201 S JACKSON ST #710
KING COUNTY TREASURY                       PROPERTY TAX
                                                                   SEATTLE, WA 98104
                                                                   PO BOX 70
KNOX COUNTY TRUSTEE                        PROPERTY TAX
                                                                   KNOXVILLE, TN 37901
                                                                   200 N SPRING ST, ROOM 360
LA CITY CLERK SUNSET & VINE BID            PROPERTY TAX
                                                                   LOS ANGELES, CA 90012
                                                                   400 LA CROSSE ST
LA CROSSE CITY TREASURER                   PROPERTY TAX
                                                                   LA CROSSE, WI 54601
                                                                   PO BOX 3014
LANE COUNTY TAX COLLECTOR                  PROPERTY TAX
                                                                   PORTLAND, OR 97208
                                                                   PO BOX 125
LARAMIE COUNTY TAX COLLECTOR               PROPERTY TAX
                                                                   CHEYENNE, WY 82003
                                                                   SPECIAL OPERATIONS & HAZMAT TEAM
LEBANON COUNTY                             PROPERTY TAX            400 S 8TH ST RM 12
                                                                   LEBANON, PA 17042
                                                                   PO BOX 271
LEE COUNTY TAX COLLECTOR                   PROPERTY TAX
                                                                   TUPELO, MS 38802
                                                                   MISCELLANEOUS TAX SECTION
LITTLE ROCK DEPARTMENT OF FINANCE          PROPERTY TAX            PO BOX 896, RM 2340
                                                                   LITTLE ROCK, AR 72203
                                                                   PO BOX 896 ROOM 230
LITTLE ROCK DEPARTMENT OF FINANCE &
                                           SALES & USE TAX         PO BOX 3861
ADMIN
                                                                   LITTLE ROCK, AR 72203
                                                                   PO BOX 400
LOGAN COUNTY COLLECTOR                     PROPERTY TAX
                                                                   LINCOLN, IL 62656
LOS ANGELES COUNTY AUDITOR - CONTROLLER,                           500 WEST TEMPLE STREET, ROOM 153
                                           PROPERTY TAX
PROPERTY TAX SERVICES DIVISION                                     LOS ANGELES, CA 90012
LOUISIANA DEPARTMENT OF REVENUE AND                                PO BOX 91011
                                           SALES & USE TAX
TAXATION                                                           BATON ROUGE, LA 70821
                                                                   1715 26TH ST
LUBBOCK CENTRAL APPRAISAL DISTRICT         PROPERTY TAX            P O BOX 10568
                                                                   LUBBOCK, TX 79408
                                                                   ONE GOVERNMENT CTR #500
LUCAS COUNTY TREASURER                     PROPERTY TAX
                                                                   TOLEDO, OH 43604
                                                                   PO BOX 4724
MACON-BIBB COUNTY TAX COMMISSIONER         PROPERTY TAX
                                                                   MACON, GA 31213
                                                                   100 E MAIN
MADISON COUNTY                             PROPERTY TAX
                                                                   JACKSON, TN 38301
                                                                   KURT PRENZLER
MADISON COUNTY TREASURER                   PROPERTY TAX            PO BOX 849
                                                                   EDWARDSVILLE, IL 62025-0849
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        TAXING AUTHORITY TYPE                       TYPE                        ADDRESS
                                                                  120 MARKET ST
MAHONING COUNTY TREASURER                 PROPERTY TAX
                                                                  YOUNGSTOWN, OH 44503
                                                                  PO BOX 9101
MAINE REVENUE SERVICES                    SALES & USE TAX         PO BOX 9112
                                                                  AUGUSTA, ME 04332-9101
                                                                  AUDREY JENSEN
MARATHON COUNTY TREASURER                 PROPERTY TAX            500 FORREST ST.
                                                                  WAUSAU, WI 54403-5568
                                                                  PO BOX 52133
MARICOPA COUNTY TREASURER                 PROPERTY TAX
                                                                  PHOENIX, AZ 85072
                                                                  PO BOX 970
MARION COUNTY TAX COLLECTOR               PROPERTY TAX
                                                                  OCALA, FL 34478
                                                                  PO BOX 6145
MARION COUNTY TREASURER                   PROPERTY TAX
                                                                  INDIANAPOLIS, IN 46206
                                          PROPERTY TAX;           110 CARROLL ST
MARYLAND COMPTROLLER OF TREASURY
                                          SALES & USE TAX         ANNAPOLIS, MD 21411
                                                                  PO BOX 7012
MASSACHUSETTS DEPARTMENT OF REVENUE       SALES & USE TAX
                                                                  BOSTON, MA 02204
                                                                  370 N MONROE
MAVERICK COUNTY TAX OFFICE                PROPERTY TAX            PO BOX 3
                                                                  EAGLE PASS, TX 78852
                                                                  COUNTY COURTHOUSE
MCCRACKEN COUNTY SHERIFF                  PROPERTY TAX            300 CLARENCE GAINES ST
                                                                  PADUCAH, KY 42003
                                                                  PO BOX 406
MCLENNAN COUNTY TAX COLLECTOR             PROPERTY TAX
                                                                  WACO, TX 76703
                                                                  VALERIE C. WOODARD CENTER
MECKLENBURG COUNTY TAX COLLECTOR          PROPERTY TAX            3205 FREEDOM DR., SUITE 3000
                                                                  CHARLOTTE, NC 28208
                                                                  PO BOX 2086
MESA COUNTY TREASURER                     PROPERTY TAX
                                                                  ENGLEWOOD, CO 80110
                                                                  PO BOX 850267
MESQUITE CITY SCHOOL DISTRICT             PROPERTY TAX
                                                                  MESQUITE, TX 75185
                                                                  P.O. BOX 305012
METROPOLITAN TRUSTEE NASHVILLE            PROPERTY TAX
                                                                  NASHVILLE, TN 37230-5012
MIDDLESEX TOWNSHIP COLLECTOR-                                     152 FIELDSTONE DRIVE
                                          PROPERTY TAX
CUMBERLAND                                                        CARLISLE, PA 17013
                                                                  12 S. HIGH ST.
MILLVILLE CITY TAX COLLECTOR              PROPERTY TAX            P.O. BOX 609
                                                                  MILLVILLE, NJ 08332
                                                                  100 - 373 BROADWAY AVE
MINISTER OF FINANCE (MANITOBA)            IFTA FUEL TAX
                                                                  WINNIPEG, MB R3C 4S4 CANADA
                                                                  P.O. BOX 64622
MINNESOTA DEPARTMENT OF REVENUE           SALES & USE TAX
                                                                  ST. PAUL, MN 55164
                                                                  200 W BROADWAY
MISSOULA COUNTY TREASURER                 PROPERTY TAX
                                                                  MISSOULA, MT 59802
                                                                  SALES & USE TAX
MISSOURI DEPARTMENT OF REVENUE            SALES & USE TAX         PO BOX 840
                                                                  JEFFERSON CITY, MO 65105
MOBILE COUNTY REVENUE COMMISSIONER, TAX                           3925 MICHAEL BLVD, SUITE G
                                          PROPERTY TAX
ASSESSOR                                                          MOBILE, AL 36609
                                                                  PO BOX 712
MOHAVE COUNTY TREASURER                   PROPERTY TAX
                                                                  KINGMAN, AZ 86402
                                                                  PO BOX 14420
MONROE COUNTY TREASURER                   PROPERTY TAX
                                                                  ROCHESTER, NY 14614
                                                                  PO BOX 1667
MONTGOMERY CITY REVENUE COMMISSIONER      PROPERTY TAX
                                                                  MONTGOMERY, AL 36102
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        TAXING AUTHORITY TYPE                       TYPE                         ADDRESS
                                                                  PO BOX 830469
MONTGOMERY COUNTY COMMISSION              SALES & USE TAX
                                                                  BIRMINGHAM, AL 35283
                                                                  451 W THIRD ST
MONTGOMERY COUNTY TREASURER               PROPERTY TAX            PO BOX 817600
                                                                  DAYTON, OH 45422-0475
                                                                  302 LEE STREET, NE
MORGAN COUNTY TAX COLLECTOR               PROPERTY TAX            P.O. BOX 696
                                                                  DECATUR, AL 35602
                                                                  PO BOX G
MORRILL COUNTY TREASURER                  PROPERTY TAX
                                                                  BRIDGEPORT, NE 69336
                                                                  225 MAINT ST
MOSINEE CITY TREASURER                    PROPERTY TAX
                                                                  MOSINEE, WI 54455-1498
                                                                  PO BOX 1006
MOUNT VERNON CONTROLLERS OFFICE           PROPERTY TAX
                                                                  MOUNT VERNON, NY 10551
                                                                  210 GEORGE STREET
MUHLENBERG TOWNSHIP TAX COLLECTOR         PROPERTY TAX
                                                                  READING, PA 19605
                                                                  PO BOX 2716
MULTNOMAH COUNTY TAX COLLECTOR            PROPERTY TAX
                                                                  PORTLAND, OR 97208
                                                                  251 CH PARKER
MUNICIPALITE DE DIXVILLE                  PROPERTY TAX
                                                                  DIXVILLE, QC J0B 1P0 CANADA
                                                                  NASH COUNTY OFFICE BLDG
NASH COUNTY TAX COLLECTOR                 PROPERTY TAX            120 W WASHINGTON ST, STE 2058
                                                                  NASHVILLE, NC 27856
                                                                  PO BOX 2300
NATRONA COUNTY                            PROPERTY TAX
                                                                  CASPER, WY 82602
                                                                  PO BOX 98923
NEBRASKA DEPARTMENT OF REVENUE            SALES & USE TAX
                                                                  LINCOLN, NE 68509
                                                                  1550 COLLEGE PARKWAY, SUITE 115
NEVADA DEPARTMENT OF TAXATION             SALES & USE TAX
                                                                  CARSON CITY, NV 89706
                                                                  5050 GRAND AVE
NEVILLE TOWNSHIP                          PROPERTY TAX
                                                                  PITTSBURGH, PA 15225
                                                                  PO BOX 15358
NEW CASTLE COUNTY                         PROPERTY TAX
                                                                  WILMINGTON, DE 19886
                                                                  PO BOX 580070
NEW HANOVER COUNTY TAX OFFICE             PROPERTY TAX
                                                                  CHARLOTTE, NC 28258
                                                                  PO BOX 816
NEW JERSEY DEPARTMENT OF TAXATION         SALES & USE TAX
                                                                  TRENTON, NJ 08625
NEW MEXICO DEPARTMENT OF TAXATION AND                             PO BOX 25123
                                          WEIGHT / DISTANCE TAX
REVENUE                                                           SANTA FE, NM 87504
                                          EXCISE TAX;
                                                                  PO BOX 25128
NEW MEXICO DEPT OF TAXATION AND REVENUE   SALES & USE TAX;
                                                                  SANTA FE, NM 87504
                                          STATE MILEAGE TAX
                                                                  NYS HIGHWAY USE TAX
NEW YORK COMMISSIONER OF TAXATION AND     HIGHWAY VEHICLE USE
                                                                  RPC-HUT
FINANCE                                   TAX
                                                                  ALBANY, NY 12212-5166
                                                                  PO BOX 15174
NEW YORK STATE SALES TAX                  SALES & USE TAX
                                                                  ALBANY, NY 12212
                                          SALES & USE TAX;        PO BOX 15166
NEW YORK STATE TAX COMMISSION
                                          WEIGHT / DISTANCE TAX   ALBANY, NY 12212
                                                                  PO BOX 25000
NORTH CAROLINA DEPARTMENT OF REVENUE      SALES & USE TAX
                                                                  RALEIGH, NC 27640
NORTH CAROLINA DEPARTMENT OF REVENUE -                            PO BOX 25000
                                          SALES & USE TAX
MECKLENBURG COUNTY                                                RALEIGH, NC 27640
                                                                  STATE CAPITOL
NORTH DAKOTA OFFICE OF STATE TAX
                                          SALES & USE TAX         600 E BOULEVARD AVE
COMMISSIONER
                                                                  BISMARCK, ND 58505
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        TAXING AUTHORITY TYPE                       TYPE                        ADDRESS
                                                                  PO BOX 2810
NUECES COUNTY ASSESSOR & TAX COLLECTOR   PROPERTY TAX
                                                                  CORPUS CHRISTI, TX 78403
                                         BUSINESS LICENSE &       625 BROADWAY
NYS DEPT OF ENVIRONMENTAL CONSERVATION
                                         PERMITS                  ALBANY, NY 12233
                                                                  PO BOX 34148
OFFICE OF FAYETTE COUNTY SHERIFF         PROPERTY TAX
                                                                  LEXINGTON, KY 40588
                                         FUEL TAX;                PO BOX 16158
OHIO DEPARTMENT OF TAXATION
                                         SALES & USE TAX          COLUMBUS, OH 43216
                                                                  PO BOX 268875
OKLAHOMA COUNTY TREASURER                PROPERTY TAX
                                                                  OKLAHOMA CITY, OK 73126
                                                                  2501 N LINCOLN BLVD
OKLAHOMA TAX COMMISSION                  SALES & USE TAX
                                                                  OKLAHOMA CITY, OK 73194
                                                                  PO BOX 580428
ONSLOW COUNTY TAX COLLECTOR              PROPERTY TAX
                                                                  CHARLOTTE, NC 28258
                                                                  PO BOX 1438
ORANGE COUNTY TREASURER TAX COLLECTOR    PROPERTY TAX
                                                                  SANTA ANA, CA 92702
                                                                  MOTOR CARRIER TRANSPORT DIVISION
OREGON DEPT OF TRANSPORTATION            FUEL TAX                 3930 FAIRVIEW INDUSTRIAL DRIVE SE
                                                                  SALEM, OR 97302
                                         IFTA FUEL TAX;           3930 FAIRVIEW INDUSTRIAL DR SE
OREGON DOT/MCT
                                         WEIGHT / DISTANCE TAX    SALEM, OR 97302
                                                                  PO BOX 1803
OUACHITA PARISH SCHOOLS                  PROPERTY TAX
                                                                  MONROE, LA 71210
                                                                  320 S. WALNUT ST
OUTAGAMIE COUNTY                         PROPERTY TAX
                                                                  APPLETON, WI 54911
                                                                  PO BOX 3353
PALM BEACH COUNTY TAX                    PROPERTY TAX
                                                                  WEST PALM BEACH, FL 33402
                                                                  130 KANSAS CITY ST
PENNINGTON COUNTY                        PROPERTY TAX             SUITE 250
                                                                  RAPID CITY, SD 57701
                                                                  PO BOX 280910
PENNSYLVANIA DEPARTMENT OF REVENUE       SALES & USE TAX
                                                                  HARRISBURG, PA 17128
                                                                  PO BOX 29690
PHOENIX CITY TREASURER                   SALES & USE TAX
                                                                  PHOENIX, AZ 85038
                                                                  PO BOX 11621
PIERCE COUNTY BUDGET & FINANCE           PROPERTY TAX
                                                                  TACOMA, WA 98411
                                                                  PO BOX 29011
PIMA COUNTY TREASURER                    PROPERTY TAX
                                                                  PHOENIX, AZ 85038
                                                                  111 COURT AVE.
POLK COUNTY TREASURER                    PROPERTY TAX
                                                                  DES MOINES, IA 50309-2298
                                                                  47450 WOODWARD AVE
PONTIAC CITY TREASURER                   PROPERTY TAX             1ST FLOOR
                                                                  PONTIAC, MI 48342
                                                                  227 SOUTH 6TH ST.
POTTAWATTAMIE COUNTY TREASURER           PROPERTY TAX
                                                                  COUNCIL BLUFFS, IA 51501
                                                                  PO BOX 17578
PRINCE GEORGES COUNTY                    PROPERTY TAX
                                                                  BALTIMORE, MD 21297
                                                                  3930 FAIRVIEW INDUSTRIAL DRIVE SE
PUBLIC UTILITY COMMISSION STATE OF OREGON STATE MILEAGE TAX
                                                                  SALEM, OR 97302
                                                                  PO BOX 430
PULASKI COUNTY TREASURER                 PROPERTY TAX
                                                                  LITTLE ROCK, AR 72203
                                                                  211 E GOVERNMENT ST
RANKIN COUNTY TAX ASSESSOR               PROPERTY TAX
                                                                  BRANDON, MS 39042
                                                                  PO BOX 1590
RAPIDES PARISH POLICE JURY               PROPERTY TAX
                                                                  ALEXANDRIA, LA 71309
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        TAXING AUTHORITY TYPE                      TYPE                         ADDRESS
                                                                 FUEL CHARGE PROGRAM
RECEIVER GENERAL FOR CANADA             FUEL TAX                 PO BOX 20000, STATION A
                                                                 SUDBURY, ON P3A 5C1 CANADA
                                                                 ONE CAPITOL HILL
RHODE ISLAND DIVISION OF TAXATION       SALES & USE TAX
                                                                 PROVIDENCE, RI 02908
                                                                 PO BOX 8028
RICHLAND COUNTY TREASURER               PROPERTY TAX
                                                                 COLUMBIA, SC 29202
                                                                 PO BOX 1451
ROANOKE CITY TREASURER                  PROPERTY TAX
                                                                 ROANOKE, VA 24007
                                                                 PO BOX 3277
ROCK ISLAND COUNTY COLLECTOR            PROPERTY TAX
                                                                 ROCK ISLAND, IL 61204
                                                                 PO BOX 508
SACRAMENTO COUNTY TAX COLLECTOR         PROPERTY TAX
                                                                 SACRAMENTO, CA 95812
                                                                 300 W ASH ST
SALINE COUNTY TREASURER                 PROPERTY TAX             PO BOX 5040
                                                                 SALINA, KS 67402
                                                                 2001 S STATE ST, 2300A
SALT LAKE COUNTY ASSESSOR               PROPERTY TAX
                                                                 SALT LAKE CITY, UT 84190
                                                                 UTAH STATE CAPITOL COMPLEX
SALT LAKE COUNTY TREASURER              PROPERTY TAX             350 NORTH STATE ST, 120 STATE CAPITOL
                                                                 SALT LAKE CITY, UT 84114
                                                                 268 WEST HOSPITALITY LANE, FIRST FLOOR
SAN BERNARDINO COUNTY                   PROPERTY TAX
                                                                 SAN BERNARDINO, CA 92415
                                                                 PO BOX 129009
SAN DIEGO CITY TREASURER                PROPERTY TAX
                                                                 SAN DIEGO, CA 92112
                                                                 TREASURER TAX COLLECTOR
SAN DIEGO COUNTY                        PROPERTY TAX             PO BOX 129009
                                                                 SAN DIEGO, CA 92112
                                                                 PO BOX 2169
SAN JOAQUIN COUNTY/TAX COLLECTOR        PROPERTY TAX
                                                                 STOCKTON, CA 95201
                                                                 2000 ALAMEDA DE LAS PULGA
SAN MATEO COUNTY ENVIRONMENTAL HEALTH   PROPERTY TAX
                                                                 SAN MATEO, CA 94403
                                                                 MARK HENSLEY
SCOTT COUNTY COLLECTOR OF REVENUE       PROPERTY TAX             PO BOX 128
                                                                 BENTON, MO 63736
                                                                 100 N. BROADWAY
SEDGWICK COUNTY                         PROPERTY TAX             SUITE 100
                                                                 WICHITA, SD 67202
                                                                 PO BOX 991830
SHASTA COUNTY TREASURER/TAX COLLECTOR   PROPERTY TAX
                                                                 REDDING, CA 96099
                                                                 200 SE 7TH ST, ROOM 101
SHAWNEE COUNTY TREASURER                PROPERTY TAX
                                                                 TOPEKA, KS 66603
                                                                 PO BOX 2751
SHELBY COUNTY TRUSTEE DAVID LENOIR      PROPERTY TAX
                                                                 MEMPHIS, TN 38101
                                                                 201 N SPRING ST
SHELBYVILLE TREASURER                   PROPERTY TAX
                                                                 SHELBYVILLE, TN 37160
                                                                 409 VIRGINIA ST E, ROOM 120
SHERIFF OF KANAWHA COUNTY               PROPERTY TAX
                                                                 CHARLESTON, WV 25301
                                                                 PO BOX 807
SHERIFF OF WARREN COUNTY                PROPERTY TAX
                                                                 BOWLING GREEN, KY 42102
                                                                 813 BROADWAY, ROOM 103
SHERMAN COUNTY TREASURER                PROPERTY TAX
                                                                 GOODLAND, KS 67735
                                                                 PO BOX 34171
SNOHOMISH COUNTY TREASURER              PROPERTY TAX
                                                                 SEATTLE, WA 98124
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         TAXING AUTHORITY TYPE                       TYPE                        ADDRESS
                                                                   AUDITOR-CONTROLLER-TREASURER-TAX
                                                                   COLLECTOR
SONOMA COUNTY TAX COLLECTOR                PROPERTY TAX
                                                                   585 FISCAL DR, RM 100F
                                                                   SANTA ROSA, CA 95403
                                                                   300A OUTLET POINTE BLVD
SOUTH CAROLINA DEPARTMENT OF REVENUE       SALES & USE TAX
                                                                   COLUMBIA, SC 29210
                                                                   PO BOX 5055
SOUTH DAKOTA DEPT OF REVENUE               SALES & USE TAX
                                                                   SIOUX FALLS, SD 57117
                                                                   PO BOX 199
SPOKANE COUNTY TREASURER                   PROPERTY TAX
                                                                   SPOKANE, WA 99210
                                                                   COUNTY- CITY BUILDING
ST. JOSEPH COUNTY (SOUTH BEND), IN         PROPERTY TAX            227 WEST JEFFERSON BLVD, SUITE 722
                                                                   SOUTH BEND, IN 46601
                                                                   BOARD OF EQUALIZATION
STATE OF CALIFORNIA - LAGUNA HILLS         SALES & USE TAX         23141 MOULTON PKWY STE 100
                                                                   LAGUNA HILLS, CA 92653
                                           HIGHWAY VEHICLE USE
                                                                   DEPT OF REVENUE SERVICES
                                           TAX;
STATE OF CONNECTICUT                                               25 SIGOURNEY ST
                                           SALES & USE TAX;
                                                                   HARTFORD, CT 06102
                                           STATE MILEAGE TAX
                                                                   DEPT OF ASSESSMENT & TAXATION
STATE OF MARYLAND                          PROPERTY TAX            PO BOX 17052
                                                                   BALTIMORE, MD 21297
                                                                   MICHIGAN DEPARTMENT OF TREASURY
STATE OF MICHIGAN                          SALES & USE TAX         PO BOX 30756
                                                                   LANSING, MI 48909
STATE OF NEVADA, DIVISION OF INDUSTRIAL                            1830 COLLEGE PARKWAY, STE 100
                                           SALES & USE TAX
RELATIONS                                                          CARSON CITY, NV 89706
                                                                   PO BOX 890
STEELE COUNTY TREASURER                    PROPERTY TAX
                                                                   OWATONNA, MN 55060
                                                                   PO BOX 550
SULLIVAN COUNTY TRUSTEE                    PROPERTY TAX
                                                                   BLOUNTVILLE, TN 37617
                                                                   175 S. MAIN ST., STE 320
SUMMIT COUNTY TREASURER                    PROPERTY TAX
                                                                   AKRON, OH 44308
                                                                   PO BOX 429
SUSSEX COUNTY COUNCIL                      PROPERTY TAX
                                                                   GEORGETOWN, DE 19947
                                           PROPERTY TAX;           PO BOX 11367
TACOMA CITY TREASURER
                                           SALES & USE TAX         TACOMA, WA 98411
                                                                   PO BOX 961018
TARRANT COUNTY TAX ASSESSOR-COLLECTOR      PROPERTY TAX
                                                                   FORT WORTH, TX 76161
                                                                   PO BOX 9827
TAX COMMISSIONER OF CHATHAM                PROPERTY TAX
                                                                   SAVANNAH, GA 31412
                                                                   PO BOX 490
TAZEWELL COUNTY CLERK                      PROPERTY TAX
                                                                   PEKIN, IL 61555
                                                                   312 ROSA L PARKS AVE.
TENNESSEE DEPARTMENT OF REVENUE            SALES & USE TAX
                                                                   NASHVILLE, TN 37243
                                                                   P.O. BOX 149344
TEXAS COMPTROLLER                          SALES & USE TAX
                                                                   AUSTIN, TX 78714
                                                                   ASSESSMENT & TAXATION DEPARTMENT
                                           INCOME TAX;
THE CITY OF WINNIPEG                                               457 MAIN STREET
                                           PROPERTY TAX
                                                                   WINNIPEG, MB R3B 1B5 CANADA
                                                                   PO BOX 2175
THOMAS COUNTY TAX COMMISSIONER             PROPERTY TAX
                                                                   THOMASVILLE, GA 31799
                                                                   PO BOX 1540
THOMASVILLE CITY SCHOOL TAX                PROPERTY TAX
                                                                   THOMASVILLE, GA 31799
                                                                   24 N AMHERST RD
TOWN OF BEDFORD                            PROPERTY TAX
                                                                   BEDFORD, NH 03110
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        TAXING AUTHORITY TYPE                     TYPE                        ADDRESS
                                                                PO BOX 369
TOWN OF BILLERICA                       PROPERTY TAX
                                                                MEDFORD, MA 02155
                                                                RECEIVER OF TAXES
TOWN OF CHEEKTOWAGA                     PROPERTY TAX            3301 BROADWAY STREET, ROOM 11
                                                                CHEEKTOWAGA, NY 14227
                                                                COLLECTOR OF REVENUE
TOWN OF CHESHIRE                        PROPERTY TAX            PO BOX 129
                                                                CHESHIRE, CT 06410
                                                                8348 COUNTY ROAD T
TOWN OF CLAYTON                         PROPERTY TAX
                                                                LARSEN, WI 54947
                                                                PO BOX 149
TOWN OF FAIRFIELD                       PROPERTY TAX
                                                                FAIRFIELD, ME 04937
                                                                475 CALKINS RD
TOWN OF HENRIETTA                       PROPERTY TAX
                                                                HENRIETTA, NY 14467
                                                                402 KEARNY AVE
TOWN OF KEARNY                          PROPERTY TAX
                                                                KEARNY, NJ 07032
                                                                110 BRACKEN RD
TOWN OF MONTGOMERY                      PROPERTY TAX            TOWN HALL
                                                                MONTGOMERY, NY 12549
                                                                RECEIVER OF TAXES
TOWN OF NEWBURGH                        PROPERTY TAX            1496 ROUTE 300
                                                                NEWBURGH, NY 12550
                                                                COLLECTOR OF TAXES
TOWN OF NORTH READING                   PROPERTY TAX            235 NORTH ST
                                                                NORTH READING, MA 01864
                                                                74 AUDREY AVENUE
TOWN OF OYSTER BAY, RECEIVER OF TAXES   PROPERTY TAX
                                                                OYSTER BAY, NY 11771
                                                                PO BOX 370
TOWN OF ROCKINGHAM                      PROPERTY TAX
                                                                BELLOWS FALLS, VT 05101
                                                                COLLECTOR OF TAXES
TOWN OF SHREWSBURY                      PROPERTY TAX            100 MAPLE AVE
                                                                SHREWSBURY, MA 01545
                                                                PO BOX 579
TOWN OF SOUTHINGTON TAX COLLECTOR       PROPERTY TAX
                                                                SOUTHINGTON, CT 06489
                                                                WASTEWATER TREATMENT FACILITY
TOWN OF TONAWANDA                       PROPERTY TAX            779 TOW MILE CREEK RD
                                                                TONAWANDA, NY 14150
                                                                DEPT OF WEIGHTS & MEASURES
TOWN OF WEST SPRINGFIELD                PROPERTY TAX            26 CENTRAL ST STE 27
                                                                WEST SPRINGFIELD, MA 01089
                                                                575 ROSSLAND RD E
TOWN OF WHITBY                          PROPERTY TAX
                                                                WHITBY, ON L1N 2M8 CANADA
                                                                1 NATIONAL LIFE DR DAVIS 1
TOWN OF WILLISTON                       PROPERTY TAX
                                                                MONTPELIER, VT 05620
                                                                PO BOX 149328
TRAVIS COUNTY TAX COLLECTOR             PROPERTY TAX
                                                                AUSTIN, TX 78714
                                                                PO BOX 1466
TREASURER OF VIGO COUNTY                PROPERTY TAX
                                                                INDIANAPOLIS, IN 46206
                                                                PO BOX 10411
TREASURER STATE OF IOWA                 SALES & USE TAX
                                                                DES MOINES, IA 50306
                                                                100 RIDLEY AVE
TROUP COUNTY BOARD OF COMMISSIONERS     PROPERTY TAX
                                                                LAGRANGE, GA 30240
                                                                160 HIGH ST NW
TRUMBULL COUNTY AUDITOR'S OFFICE        PROPERTY TAX
                                                                WARREN, OH 44481
                                                                500 S DENVER
TULSA COUNTY TREASURER                  PROPERTY TAX
                                                                TULSA, OK 74103
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        TAXING AUTHORITY TYPE                      TYPE                        ADDRESS
                                                                 701 N 7TH ST
UNIFIED GOVERNMENT OF WYANDOTTE
                                         PROPERTY TAX            PO BOX 175013
COUNTY AND KANSAS CITY
                                                                 KANSAS CITY, KS 66101
                                                                 3501 E SAUNDERS
UNITED ISD TAX OFFICE                    PROPERTY TAX
                                                                 LAREDO, TX 78041
                                                                 210 N 1950 W
UTAH STATE TAX COMMISSION                SALES & USE TAX
                                                                 SALT LAKE CITY, UT 84134
                                                                 TAX ASSESSOR COLLECTOR
VALWOOD IMPROVEMENT AUTHORITY            PROPERTY TAX            1430 VALWOOD PKWY STE 160
                                                                 CARROLLTON, TX 75006
                                                                 P.O. BOX 77
VANDERBURGH COUNTY TREASURER             PROPERTY TAX
                                                                 EVANSVILLE, IN 47701-0077
                                                                 800 S VICTORIA AVE
VENTURA COUNTY TAX COLLECTOR             PROPERTY TAX
                                                                 VENTURA, CA 93009
                                                                 P.O. BOX 730
VERMILION COUNTY TREASURER               PROPERTY TAX
                                                                 DANVILLE, IL 61834-0730
                                                                 109 STATE ST
VERMONT DEPARTMENT OF TAXES              SALES & USE TAX
                                                                 MONTPELIER, VT 05609
                                                                 109 MAIN ST
VILLAGE OF MAYBROOK                      PROPERTY TAX
                                                                 MAYBROOK, NY 12543
                                                                 CP 11043 SUCC CENTRE VILLE
VILLE DE MONTREAL                        PROPERTY TAX
                                                                 MONTREAL, QC H3C-4X8 CANADA
                                                                 PO BOX 1500
VIRGINIA DEPARTMENT OF TAXATION          SALES & USE TAX
                                                                 RICHMOND, VA 23212
                                                                 301 S. MCDOWELL ST
WAKE COUNTY REVENUE DEPT                 PROPERTY TAX            SUITE 3800
                                                                 RALEIGH, NC 27601
                                                                 225 THIRD STREET, SE
WARD COUNTY, ND                          PROPERTY TAX
                                                                 MINOT, ND 58701
                                                                 280 N COLLEGE
WASHINGTON COUNTY COLLECTOR              PROPERTY TAX            SUITE 202
                                                                 FAYETTEVILLE, AR 72701
                                                                 205 PUTNAM ST
WASHINGTON COUNTY TREASURER              PROPERTY TAX
                                                                 MARIETTA, OH 45750
                                         EXCISE TAX;             PO BOX 34051
WASHINGTON STATE DEPARTMENT OF REVENUE
                                         SALES & USE TAX         SEATTLE, WA 98124
                                                                 PO BOX 30039
WASHOE COUNTY TREASURES OFFICE           PROPERTY TAX
                                                                 RENO, NV 89520
                                                                 PO BOX 420128
WEBB COUNTY TAX OFFICE                   PROPERTY TAX
                                                                 LAREDO, TX 78042
                                                                 REVENUE DEPARTMENT
WEST BATON ROUGE PARISH                  PROPERTY TAX            PO BOX 86
                                                                 PORT ALLEN, LA 70767
                                                                 PO DRAWER 1826
WEST VIRGINIA STATE TAX DEPARTMENT       SALES & USE TAX
                                                                 CHARLESTON, WV 25327
                                                                 302 N CHICAGO ST
WILL COUNTY TREASURER                    PROPERTY TAX
                                                                 JOLIET, IL 60432
                                                                 PO BOX 1216
WINNEBAGO COUNTY TREASURER               PROPERTY TAX
                                                                 ROCKFORD, IL 61105
                                         BUSINESS LICENSE &
                                                                 PO BOX 930208
WISCONSIN DEPARTMENT OF REVENUE          PERMITS;
                                                                 MILWAUKEE, WI 53293
                                         SALES & USE TAX
                                                                 1 COURTHOUSE SQUARE
WOOD COUNTY TREASURER                    PROPERTY TAX
                                                                 BOWLING GREEN, OH 43402-2452
                                                                 620 DOUGLAS ST
WOODBURY COUNTY TAX COLLECTOR            PROPERTY TAX
                                                                 SIOUX CITY, IA 51101
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       TAXING AUTHORITY TYPE                    TYPE                        ADDRESS
                                                              1155 - 228TH STREET SW
WYOMING CITY TREASURER                PROPERTY TAX            PO BOX 905
                                                              WYOMING, MI 49509
                                      EXCISE TAX;             HERSCHLER BLDG, 122 25TH ST
WYOMING DEPARTMENT OF REVENUE
                                      SALES & USE TAX         CHEYENNE, WY 82002
                                                              PO BOX 22530
YAKIMA COUNTY TREASURER               PROPERTY TAX
                                                              YAKIMA, WA 98907
YELLOW MEDICINE COUNTY PROPERTY &                             180 8TH AVENUE
                                      PROPERTY TAX
PUBLIC SERVICES                                               GRANITE FALLS, MN 56241
                                                              PO BOX 1995
YOLO COUNTY TREASURER-TAX COLLECTOR   PROPERTY TAX
                                                              WOODLAND, CA 95776
